Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 1 of 27            FILED
                                                                 2017 Oct-17 AM 11:18
                                                                 U.S. DISTRICT COURT
                                                                     N.D. OF ALABAMA
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 2 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 3 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 4 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 5 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 6 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 7 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 8 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 9 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 10 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 11 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 12 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 13 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 14 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 15 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 16 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 17 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 18 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 19 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 20 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 21 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 22 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 23 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 24 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 25 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 26 of 27
Case 5:17-cv-01216-CLS Document 57 Filed 10/17/17 Page 27 of 27
